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 1                                                                        Judge James L. Robart
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                        )
 9                                                    )       NO. CR05-0316JLR
                              Plaintiff,              )
10                                                    )
                     v.                               )       ORDER CONTINUING TRIAL
11                                                    )
     LUAL HABTAI,                                     )
12                                                    )
                              Defendant.              )
13                                                        )
14           The Court having conducted a hearing on January 4, 2006, concerning
15   scheduling in this case at which Government counsel, LUAL HABTAI, and HABTAI’s
16   counsel, Jesse Cantor, all were present:
17           THE COURT FINDS that, on November 23, 2005, HABTAI entered a guilty
18   plea to a charge of Possession of Cocaine Base, in violation of 21 U.S.C. §844(a);
19           THE COURT FURTHER FINDS that HABTAI subsequently sought to
20   withdraw that plea;
21           THE COURT FURTHER FINDS that the Court held a hearing on December
22   21, 2005, at which the Court permitted HABTAI to withdraw his plea of guilty and
23   permitted HABTAI’s then-counsel, Michael Martin, to withdraw from the case;
24           THE COURT FURTHER FINDS that the Court subsequently appointed Jesse
25   Cantor to serve as counsel for HABTAI;
26           THE COURT FURTHER FINDS that Jesse Cantor represented at the hearing on
27   January 4, 2006, that he requires at least 60 days to investigate this case and to prepare
28   for trial;
                                                                                   UNITED STATES ATTORNEY
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     SCHEDULING ORDER/HABTAI (CR05-0316JLR) - 1                                          (206) 553-7970
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 1          THE COURT FURTHER FINDS that allowing Jesse Cantor that much time is
 2   necessary to allow him adequate time to investigate and effectively to prepare for trial;
 3          THE COURT FURTHER FINDS that Government counsel, Jesse Cantor, and
 4   the Court all are available to try this case on March 21, 2006;
 5          THE COURT FURTHER FINDS that HABTAI orally waived his right at the
 6   hearing on January 4, 2006, to have a trial prior to March 21, 2006; and
 7          THE COURT FURTHER FINDS, pursuant to 18 U.S.C. § 3161(h)(8)(A), that
 8   the ends of justice served by continuing the trial in this case until March 21, 2006,
 9   outweigh the interest of the public and of the defendant in a more speedy trial.
10          IT IS THEREFORE ORDERED that the trial in this case shall be continued until
11   March 21, 2006, and that the period of time from December 21, 2005, up to and
12   including March 21, 2006, shall be excludable time under 18 U.S.C. § 3161(h)(8)(A);
13   and
14          IT IS FURTHER ORDERED that the deadline for filing pretrial motions in this
15   case shall be February 21, 2006, and that responses to motions shall be due February
16   28, 2006.
17          DONE this 9th day of January, 2006.
18
                                                      s/James L. Robart
19                                                    ____________________________
                                                      JAMES L. ROBART
20                                                    United States District Judge
21   Presented by:                                          Fax:        (206) 553-0755
                                                            E-mail: Andrew.Friedman@usdoj.gov
22   s/Andrew C. Friedman                                           Todd.Greenberg@usdoj.gov
23   ANDREW C. FRIEDMAN
     Assistant United States Attorney
24
     s/Todd Greenberg                                       s/Jesse G. Cantor
25                                                           JESSE G. CANTOR
     TODD GREENBERG                                         Counsel for Lual Habtai
26   Assistant United States Attorney
     United States Attorney’s Office                        811 First Avenue, Suite 200
27   700 Stewart Street, Suite 5220                         Seattle, Washington 98101
     Seattle, Washington 98101-3903                         Telephone: (206) 749-5600
28   Telephone: (206) 553-7970                              Facsimile:   (206) 749-5800
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                                                                                 700 STEWARTS      , S 5220
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